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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA


   TELCOM VENTURES LLC,

         Plaintiff,
                                                   Case No. 1:24-cv-23837-JEM
   v.

   APPLE, INC.,                                    JURY TRIAL DEMANDED
         Defendant.



          PLAINTIFF TELCOM VENTURES LLC’S MEMORANDUM OF LAW
                 IN OPPOSITION TO DEFENDANT APPLE, INC.’S
                MOTION TO TRANSFER UNDER 28 U.S.C. § 1404(a)

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                     RESPONSE TO APPLE’S REQUEST FOR HEARING
         As explained herein, Plaintiff Telcom Ventures LLC (“Plaintiff” or “Telcom Ventures”)

  believes that Apple’s motion fails to meet its burden to demonstrate that the Northern District of

  California is clearly more convenient than the Southern District of Florida to warrant transfer.

  Thus, Telcom Ventures does not believe a hearing on Apple’s motion is needed. But if the Court

  were inclined to grant the motion or has questions that would help resolve the motion, then Telcom

  Ventures supports a hearing.




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                          MEMORANDUM OF LAW IN OPPOSITION
  I.     INTRODUCTION
         The crux of Apple’s motion is: Apple would prefer to litigate this case on its home turf

  rather than on Telcom Ventures’ home turf. Presumably, Apple believes a San Francisco jury will

  be more sympathetic to Apple than a Miami jury. But Apple’s wish is not the standard applied to

  Section 1404(a) transfer motions. “[A] ‘plaintiff’s choice of forum should rarely be disturbed.’”

  Poschmann v. Liberty Inn Motel, LLC, 2019 WL 13261831, at *3 (S.D. Fla. Jan. 23, 2019)

  (Martinez, J.) (quoting Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 508 (1947)). And as applies here,

  “a plaintiff’s choice of forum is entitled to greater deference when the plaintiff has chosen [its]

  home forum.” See Piper Aircraft Co. v. Reyno, 454 U.S. 235, 255–56 (1981) (citing Koster v.

  Lumbermens Mut. Cas. Co., 330 U.S. 518, 524 (1947)).

         Apple regularly seeks to transfer patent infringement cases to the Northern District of

  California and typically supports such motions with declarations that use carefully crafted

  language and selective omissions to paint a misleading picture. E.g., Scramoge Tech. Ltd. v. Apple

  Inc., 2022 WL 1667561, at *2 (W.D. Tex. May 25, 2022) (“[Apple’s declarant] frequently and

  repeatedly submitted unreliable and misleading declarations to this Court [regarding Apple’s work

  on accused technologies].”). In line with past practices, Apple now provides a selective and

  scattershot list of 96 possible witnesses located in Canada, California, England, New York, North

  Carolina, Pennsylvania, Singapore, and the United Kingdom in support of their transfer request.

  But Apple fails to identify a single witness with material knowledge of the accused Apple Wallet

  and Apple Pay functionality, which is the accused technology at issue in this patent case. Notably,

  Apple’s declarants “know of no Apple employee with relevant knowledge . . . in this District.”

  Dkt. No. [40] at 3. These omissions are significant because Apple previously represented that work

  on certain features accused in this case were performed in this District. According to Apple in


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  2021, “[t]he groups within Apple that are responsible for the design, development, and engineering

  of the accused functionality of Touch ID, Face ID, and Apple Wallet are located in either

  Cupertino, California (NDCA); Prague, Czech Republic (‘Prague’); or Melbourne, Florida

  (‘Melbourne’).” Ex. A at 3 (Apple’s Motion to Transfer, CPC Pat. Techs. v. Apple Inc., No. 6:21-

  cv-00165-ADA (W.D. Tex. May 4, 2021) (emphasis added).

         Yet Apple’s motion fails to acknowledge this fact. Instead, Apple selectively identifies

  individuals tangentially involved with the development and sale of the accused products located

  around the world, while conveniently omitting all of the Melbourne employees. This is not the first

  time Apple has used this tactic. Other courts have characterized Apple’s filings in support of

  § 1404(a) transfer motions as:

                “unreliable and misleading” (Scramoge, 2022 WL 1667561, at *2);

                “us[ing] language that carefully limits the scope of declared facts to his personal,
                 selectively fed knowledge” (id. at *3);

                “based on a deficient investigation” (id. at *4);

                “vague and generalized” (Resonant Sys., Inc. v. Apple, Inc., 2024 WL 4346391, at
                 *4 (W.D. Tex. Apr. 18, 2024));

                “lack[ing] personal knowledge” (id.);

                “serv[ing] as a mouthpiece for attorney argument” (Ex. B at 9 (Discovery and
                 Scheduling Order, XR Communications v. Apple Inc., 6:21-cv-00620-ADA (W.D.
                 Tex. Sept. 9, 2022))); and

                “evad[ing] venue discovery and suppl[ying] questionable evidence” (id. at 7).

         Apple’s deceptive transfer tactics caused a district court in 2022 to write an opinion

  “exposing the offenses” in Apple’s filings “so that other courts and administrative agencies can

  similarly discount [their] credibility.” Scramoge, 2022 WL 1667561, at *4 n.3. That Court “noticed

  the pattern of [Apple Declarant] Mr. Rollins plainly declaring unqualified facts that support



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  transfer, but when he gives facts about topics that might weigh against transfer, his statements

  suddenly become limited to his personal knowledge.” Ex. B at 10. Apple no longer relies on Mr.

  Rollins as its declarant in venue motions, but Apple’s same tactics persist here.

         Apple’s selective identification of worldwide witnesses, carefully worded declarations, and

  omissions regarding documents and witnesses in this District and elsewhere does not come close

  to satisfying its “high” burden to overcome Telcom Ventures’ choice to litigate in its home

  forum—this Court. Tuuci Worldwide, LLC v. S. Frankford & Sons, Inc., 2023 WL 5275187, at *8

  (S.D. Fla. Aug. 16, 2023). Nor has Apple met its burden of proving that the Northern District of

  California is clearly more convenient than this District. See Steifel Labs., Inc. v. Galderma Labs.,

  Inc., 588 F. Supp. 2d 1336, 1339 (S.D. Fla. 2008) (citing Robinson v. Giarmarco & Bill, P.C., 74

  F.3d 253, 260 (11th Cir. 1996)). Because transfer to the Northern District of California would

  “merely shift[] the inconvenience from one party to another, [Telcom Ventures’] choice of forum

  should remain.” Mason v. Smithkline Beecham Clinical Labs., 146 F. Supp. 2d 1355, 1360 (S.D.

  Fla. 2001) (internal citations omitted).

  II.    BACKGROUND
         A.      Telcom Ventures Is Located in Miami.
         Telcom Ventures has been a Miami-based, Florida company since 2006, well before Apple

  introduced its infringing Apple Pay technology in this District and nationwide. See Ex. C (Florida

  Certificate of Status).1 Telcom Ventures maintains office space in Miami, less than two miles from

  this Court. Ex. D (2025 Report). Telcom Ventures’ managers, Serge Martin and Rajendra Singh,

  currently live in this District. See id. Mr. Singh is also one of the named inventors on each of the


  1
    Telcom Ventures is neither “dissolved” nor “inactive” as a Florida company. See Dkt. No. [40]
  at 1, 5. Telcom Ventures recently filed an annual report reaffirming its status as an active limited
  liability company in Florida. See Ex. C (Florida Certificate of Status).



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  Asserted Patents. The other named inventor, Peter Karabinis, currently lives in North Carolina,

  making this Court a preferred forum for this third-party witness. See Ex. E (Karabinis Declaration).

  Telcom Ventures filed its case in its home District—where its documents and principals are

  located, and where Apple has been registered to do business since 1982 and has full-time personnel

  and business operations. Dkt. No. [1], ¶¶ 9–11.

         B.      Apple Fails to Show That No Relevant Witnesses Reside in This District.
         Apple’s motion to transfer is accompanied by declarations from individuals selected by

  Apple to support its preferred outcome, and each declaration uses intentionally specific language

  to create a misleading impression. Apple chose five individuals with allegedly relevant knowledge,

  all of whom state they are not based in the Southern District of Florida. Dkt. No. [40-5], ¶ 4; Dkt.

  No. [42-1], ¶¶ 5, 6; Dkt. No. [42-3], ¶ 4; Dkt. No. [42-4], ¶ 4; Dkt. No. [42-5], ¶ 4. And the sixth

  witness, Catherine Spevak, states that “[n]one of [her] team members work with any individuals

  located in Florida with respect to financials relevant to the accused products in this matter.” Dkt.

  No. [42-2], ¶ 5. That declaration is limited to “financials relevant to accused products.” None of

  these declarations state that Apple does not engage in research or development work in this

  District. Instead, the closest Apple comes is via the declaration of Mr. Bandyopadhyay, which

  states that he “work[s] with Apple Wallet and Apple Pay engineering teams.” Dkt. No. [40-5], ¶ 3

  (emphasis added). Apple seemingly understands that key witnesses from the Apple Wallet and

  Apple Pay engineering teams exist but intentionally chose not to submit declarations from the

  individuals on those teams.

         C.      Apple Fails to Show That No Documents Are Located in This District.
         As to the documents Apple identifies as relevant, five of Apple’s declarations admit that

  “many” of the documents “are stored in shared locations” accessible electronically. Dkt. No. [40-

  5], ¶ 5; Dkt. No. [42-1], ¶ 6; Dkt. No. [42-3], ¶ 5; Dkt. No. [42-4], ¶ 5; Dkt No. [42-5], ¶ 5. The


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   sixth declaration, which is carefully limited to sales and financials documents, states that “[d]ata

   concerning sales and financial information for Apple’s products that include Apple Pay and Apple

   Wallet as well as summary revenue information for Apple Pay are primarily located (a) on local

   computers in or around Cupertino, and/or (b) in data centers located in Arizona and North

   Carolina.” Dkt. No. [42-2], ¶ 6 (emphasis added). Once again, none of these declarations elaborate

   on these averments, nor do they explain the qualified language chosen by Apple.

           D.     Public Documents Show That, in Previous Motions to Transfer, Apple Relied
                  on the Presence of Relevant Managers and Documents in This District.
           Apple’s declarations are curious because they fail to address the fact that, as recently as

   2021, in connection with motions to transfer in other cases filed in Texas, Apple affirmatively

   stated that employees in its Security Engineering and Architecture Team who worked on the

   accused Apple Pay technology were located in this District—the Southern District of Florida. See

   Ex. A at 3. One of the employees continues to identify himself as currently working in this District.

   See Ex. F (LinkedIn Profile). In addition, the LinkedIn pages for two Project Managers for the

   accused technology, Apple’s “Readiness Project Manager for Apple Pay and Wallet” and Apple’s

   “Technical Program Manager for Wallet, Payments, and Commerce,” identify themselves as

   currently working in this District. See Exs. G, H (LinkedIn Profiles). Apple similarly represented

   that relevant documents, including working files, electronic documents, and hard copy documents

   related to “Touch ID, Face ID, and Apple Card loaded into the iPhone Wallet” are located or

   accessible in or around the Southern District of Florida. Ex. A at 3. It is Apple’s burden to establish

   inconvenience, yet Apple’s motion and supporting declarations fail to identify or acknowledge any

   of these employees or documents, which would clearly support maintaining the case in this

   District.




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   III.   APPLICABLE LEGAL STANDARDS
          “For the convenience of parties and witnesses, in the interest of justice, a district court may

   transfer any civil action to any other district or division where it might have been brought.” 28

   U.S.C. § 1404(a); see also Atl. Marine Constr. Co. v. U.S. Dist. Court for W. Dist. of Tex., 571

   U.S. 49, 59 (2013) (“Unlike § 1406(a), § 1404(a) does not condition transfer on the initial forum’s

   being ‘wrong.’”). Transfer should “only be granted where the balance of convenience of the parties

   strongly favors the defendant.” Steifel Labs., 588 F. Supp. 2d at 1339 (citing Robinson, 74 F.3d at

   260) (emphasis in original). The burden of demonstrating that transfer is warranted is a high

   burden, as “a ‘plaintiff’s choice of forum should rarely be disturbed.’” Poschmann, 2019 WL

   13261831, at *3 (quoting Gulf Oil, 330 U.S. at 508).

          To prevail on its motion, Apple must establish that transfer is appropriate through “two

   inquiries: (1) whether the action ‘might have been brought’ in the proposed transferee court and

   (2) whether various factors are satisfied so as to determine if a transfer to a more convenient forum

   is justified.” Del Monte Fresh Produce Co. v. Dole Food Co., 136 F. Supp. 2d 1271, 1281 (S.D.

   Fla. 2001) (citing Miot v. Kechijian, 830 F. Supp. 1460, 1465–66 (S.D. Fla. 1993)). Under the

   second inquiry, a court may consider the following private and public interest factors:

          (1) the convenience of the witnesses; (2) the location of relevant documents and the
          relative ease of access to sources of proof; (3) the convenience of the parties; (4)
          the locus of operative facts; (5) the availability of process to compel the attendance
          of unwilling witnesses; (6) the relative means of the parties; (7) a forum’s
          familiarity with the governing law; (8) the weight accorded a plaintiff's choice of
          forum; and (9) trial efficiency and the interests of justice, based on the totality of
          circumstances.

   Manuel v. Convergys Corp., 430 F.3d 1132, 1135 n.1 (11th Cir. 2005). Under the trial efficiency

   and interests of justice factor, courts consider other public interest factors including

   “administrative difficulties flowing from court congestion” and “the local interest in having




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   localized controversies decided at home.” Tuuci Worldwide, 2023 WL 5275187, at *14 (internal

   citations omitted).

   IV.    THE PRIVATE AND PUBLIC INTEREST FACTORS DO NOT FAVOR
          TRANSFER
          Telcom Ventures does not contest that the first inquiry—whether the action “might have

   been brought” in the Northern District of California—is met. See Dkt. No. [40] at 7–8. Thus, this

   Court need only analyze the second inquiry: “whether various factors are satisfied so as to

   determine if a transfer to a more convenient forum is justified.” Del Monte, 136 F. Supp. 2d at

   1281 (citing Miot, 830 F. Supp. at 1465–66). At bottom, Apple has failed to meet its “high” burden.

   Tuuci Worldwide, 2023 WL 5275187, at *8. The private and public interest factors do not “strongly

   favor” transfer such that they override Telcom Ventures’ choice to litigate in its home forum.

   Steifel Labs., 588 F. Supp. 2d at 1339 (emphasis added) (citing Robinson, 74 F.3d at 260).

          A. Private Interest Factors

                 i.      Convenience of the Witnesses

          This factor weighs against transfer because relevant and material witnesses are present in

   this District, including all of Telcom Ventures’ witnesses as well as Apple’s material witnesses

   omitted by Apple. At best, a transfer “would merely shift inconvenience from defendant to

   plaintiff,” which is insufficient to justify Apple’s transfer request. Burger King Corp. v. Thomas,

   755 F. Supp. 1026, 1030 (S.D. Fla. 1991).

          All of Telcom Ventures’ witnesses are located in this District. Ex. D (2025 Report). Raj

   Singh, one of the named inventors of the asserted patents and the Chairman and Chief Executive

   Officer of Telcom Ventures, and Serge Martin, the Executive Vice President of Telcom Ventures,

   both reside in this district. See id. Mr. Singh and Mr. Martin have knowledge related to the structure

   and ownership of Telcom Ventures, development of the patented inventions, the chain of title for



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   the patents-in-suit, any attempts to license, monetize, and enforce the patents, and the management

   of the patent portfolio. Further, Peter Karabinis, a co-inventor of the patents-in-suit and third-party

   witness, is located in North Carolina. Mr. Karabinis has committed to attending trial in this district,

   which is far more convenient for him than Apple’s preferred District in California. See Ex. E

   (Karabinis Decl.) at 2. Mr. Karabinis has not committed to attending trial in California.

          As described previously, while Apple provided declarations from employees related to

   Apple Pay, Apple did not provide any declaration from a member of the Apple Pay or Apple Wallet

   engineering teams. Apple’s declarant Mr. Bandyopadhyay, a Software Development Engineer,

   asserts only that he “work[s] with Apple Wallet and Apple Pay engineering teams,” confirming

   that while such teams exist, Apple did not provide a declaration from any member of those teams.

   Dkt. No. [40-5] ¶ 3.2 Instead, Telcom Ventures identified members of the Apple Pay and Apple

   Wallet engineering teams that work outside the Northern District of California that Apple omitted

   from its motion, including individuals in Texas and Florida. See DH Int’l, Ltd. v. Apple, Inc., 2024

   WL 4119374, at *5 (W.D. Tex. Aug. 30, 2024) (“Apple has identified some employees who work

   on Apple Pay in Austin.”); Ex. A at 3 (Melbourne); Exs. F, G, H (LinkedIn Profiles). Because

   other potential witnesses exist with more relevant and material information, the relevance and

   materiality of Apple’s chosen witnesses should be discounted. See In re Genentech, 566 F.3d 1338,

   1343 (Fed. Cir. 2009) (explaining that a district court should “assess the relevance and materiality

   of the information the witness[es] may provide” when analyzing this factor).




   2
     Mr. Bandyopadhyay is located in San Diego—outside the Northern District of California. See
   Dkt. No. [40-5] ¶ 1. Moreover, his declaration merely states where his entire team is located rather
   than which team members would testify and where those members are located. See id. ¶ 4.


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           When considered alongside the fact that all of Telcom Ventures’ witnesses are here (in

   Telcom Ventures’ home District), the “convenience of the witnesses” factor favors denying

   transfer.

                ii.   Location of Relevant Documents and Relative Ease of Access to Sources of
                      Proof

           The “location of documents” factor does not support transfer, and in the age of cloud

   storage of data, should be given minimal weight. As this Court has explained, “given that the

   electronic storage and transfer of documents between litigants has become the norm, many courts

   find that the location of relevant documents should be given little weight in the transfer analysis.”

   Filtalert Corp. v. IBM, 2015 WL 9474640, at *3 (S.D. Fla. Dec. 29, 2015). This Court has at times

   even considered this inquiry “a non-factor” “absent a showing by the moving party to the

   contrary.” See, e.g., Microspherix LLC v. Biocompatibles, Inc., 2012 WL 243764, at *3 (S.D. Fla.

   Jan. 25, 2012).

           As an initial matter, like Telcom Ventures’ witnesses, all of Telcom Ventures’ documents

   are located in this District. This favors maintaining Telcom Ventures’ chosen forum. See, e.g.,

   Tuuci Worldwide, 2023 WL 5275187, at *11.

           As for Apple’s documents, Apple argues that “the overwhelming majority of Apple’s

   sources of proof are in NDCA.” Dkt. No. [40] at 11. Again, this carefully worded statement fails

   to acknowledge that one of its three development and engineering locations is in Melbourne. It

   defies logic that no relevant documents exist in Melbourne, which is presumably why Apple

   hedges its declaration with the words “overwhelming majority.” In fact, Apple has admitted that

   certain “working files, electronic documents, and any hard copy documents” “reside on local

   computers and/or servers” that are “either located in or around” this District or “are accessible in”

   this District. Ex. A at Ex. B, ¶ 83. Further, there is no statement that the documents in this District



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   are insufficient or that the documents located elsewhere are non-cumulative of the documents

   located in Melbourne. Regardless, because most all of the pertinent documents are stored

   electronically, this factor “should be given little weight in the transfer analysis.” Filtalert, 2015

   WL 9474640, at *3. Apple’s only argument about the purported inaccessibility of documents in

   this District is that the documents “are not accessible by any Apple employees” located here. Dkt.

   No. [40] at 11. But as stated above, Apple fails to explain the contradiction between this statement

   and Apple’s previous declaration stating that documents are “either located in or around” or “are

   accessible in” this District. Ex. A at Ex. B, ¶ 83. Moreover, Apple does not indicate “that

   considerable document production will take place on computer terminals and not electronically,”

   meaning the location of the document should receive little weight. Wi-Lan USA, Inc. v. Apple, Inc.,

   2013 WL 1343535, at *3 (S.D. Fla. Apr. 2, 2013).

          For these reasons, the location of relevant documents and the relative ease of access to

   sources of proof do not support a transfer. See Microspherix, 2012 WL 243764, at *3.

               iii.   Convenience of the Parties

          This factor does not favor transfer because “[w]hatever weight the Court would have given

   to Defendant’s interest in litigating near the location of its headquarters and warehouses is

   neutralized by Plaintiff’s interest in litigating in its home State.” Tuuci Worldwide, 2023 WL

   5275187, at *11 (citing Burger King, 755 F. Supp. at 1030). In situations like the one here, “this

   factor is ‘practically irrelevant to whether the motion to transfer should be granted.’” Fruitstone v.

   Spartan Race Inc., 464 F. Supp. 1268, 1281 (S.D. Fla. 2020) (quoting Cent. Money Mortg. Co. v.

   Holman, 122 F. Supp. 2d 1345, 1346 (M.D. Fla. 2000)). As this Court has explained: “Where a

   transfer ‘merely shift[s] the inconvenience from one party to another, Plaintiff’s choice of forum

   should remain.’” Mason, 146 F. Supp. 2d at 1360 (internal citations omitted). Accordingly, this

   factor is neutral and does not support transfer. See id.


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                iv.    Locus of Operative Facts

           “In patent infringement actions, the preferred forum is ‘that which is the center of gravity

   of the accused activity.’” Microspherix, 2012 WL 243764, at *4 (quoting Trace-Wilco Inc. v.

   Symantec Corp., 2009 WL 455432, at *2 (S.D. Fla. Feb. 23, 2009)). This District is one of three

   centers of gravity for development of the accused features that Apple has identified: Melbourne,

   Cupertino, and Prague. Ex. B at 3. As for sales of the accused products, the accused activity occurs

   nationwide, including in this District. This Court has acknowledged that the center of gravity may

   extend beyond where “the allegedly infringing product was designed and manufactured, and from

   where marketing and sales decisions are made.” Microspherix, 2012 WL 243764, at *4 (citing

   Trace-Wilco, Inc., 2009 WL 455432, at *2). Indeed, one of the inventors of the patents lives in this

   District. See Ex. D (2025 Report). Further, Telcom Ventures’ choice to litigate in its home forum

   shifts the analysis of this factor such that it does not support transfer. See, e.g., Piper Aircraft, 454

   U.S. at 255–56 (assigned greater deference “when the plaintiff has chosen [its] home forum”).

                 v.    Availability of Process to Compel Attendance of Unwilling Witnesses
           This factor concerns situations where “important witnesses cannot be compelled to testify

   in the forum, but could be subpoenaed in the transferee court.” Tuuci Worldwide, 2023 WL

   5275187, at *12 (quoting Wi-LAN USA, 2013 WL 1343535, at *4). Importantly, “[t]o weigh in

   favor of transfer, it is not enough to say potential witnesses are outside the Court’s subpoena

   power.” Id. (citing Trafalgar Cap. Specialized Inv. Fund v. Hartman, 878 F. Supp. 2d 1274, 1287

   (S.D. Fla. 2012)). “The movant must also show the witnesses would not willingly attend trial, and

   a deposition would be inadequate to present the witnesses’ testimony.” Id. (citing Trafalgar Cap.

   Specialized Inv. Fund, 878 F. Supp. 2d at 1287–88).

           Apple has identified no unwilling witness that would be unavailable for trial in this District

   but would be subject to the Northern District of California’s subpoena power. While Apple


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   identifies individuals within the Northern District of California’s subpoena power (Dkt. No. [40]

   at 13), Apple controls these witnesses and cannot show that these witnesses would not attend trial,

   or that a deposition would be inadequate to present the witnesses’ testimony. And Apple identified

   no third-party witness who may need to be compelled by the Northern District of California’s

   subpoena power. Accordingly, this factor does not support transfer.

                 vi.      Relative Means of the Parties
          Apple contends that this factor is neutral. Dkt. No. [40] at 15. This factor favors Telcom

   Ventures. While both parties are corporations, see David’s Dozer V-Loc Sys. v. Deere & Co., 2024

   WL 5102001, at *8 (S.D. Fla. May 30, 2024), that is where the similarities end. Telcom Ventures

   is a small company, and Apple is one of the largest and richest companies in the world with

   locations and employees worldwide, including in this District. See Ex. A at 3.

          B.           Public Interest Factors
                  i.      Forum’s Familiarity with the Governing Law
          Telcom Ventures and Apple agree this factor is neutral, as “[a]ll federal courts are

   presumed to be equally familiar with patent law.” MindbaseHQ LLC v. Google LLC, 2021 WL

   1923142, at *6 (S.D. Fla. May 12, 2021); see Dkt. No. [40] at 18 (Apple stating that this factor is

   “neutral”).

                 ii.      Weight Accorded to the Plaintiff’s Choice of Forum
          This factor greatly favors denying transfer. This Court has repeatedly held that “[t]he

   plaintiff’s choice of forum should not be disturbed unless it is clearly outweighed by other

   considerations.” Poschmann, 2019 WL 13261831, at *3 (quoting Robinson, 74 F.3d at 260); see

   also, e.g., Operating Sys. Sols., LLC v. Apple Inc., 2012 WL 12906518, at *1 (M.D. Fla. Jan. 30,

   2012). Apple has proved no other considerations that outweigh Telcom Ventures’ choice.




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                iii.   Trial Efficiency and the Interests of Justice Based on Court Congestion
                       and the Local Interest in Having Localized Controversies Decided at Home
           This factor weighs against transfer because (1) Florida has a local interest in this litigation

   and (2) this Court’s docket is less congested than the docket of the Northern District of California.

           First, “Florida has an interest in protecting its residents against tortious conduct, and there

   is a local interest in having localized controversies decided at home.” Tuuci Worldwide, 2023 WL

   5275187, at *14 (internal citation omitted). That maxim applies here. Telcom Ventures has

   maintained its presence in this District for nearly twenty years, demonstrating a strong local

   interest in protecting its rights in this District. Also, Apple sells its infringing iPhones in storefronts

   in this District and facilitates the infringement of Telcom Ventures’ patents by users of the Apple

   Pay functionality in this District. Dkt No. [1], ¶¶ 12–20. As recently as 2021, Apple represented

   in its own court filings that it maintains office space in this District, which serves as the home

   office for both witnesses and documents relevant to the subject matter of this case. Ex. A at 3; Ex.

   I (Office Building Website) (identifying Apple as a tenant). While Apple may prefer a San

   Francisco jury, Florida and its residents have a strong interest in resolving this dispute.

           Second, this Court has recognized that “[w]hile docket considerations are a ‘minor

   consideration,’ . . . ‘speed generally is considered a good thing in federal courts.’” Microspherix,

   2012 WL 243764, at *6 (internal citations omitted). This District has a far less congested docket

   and a much faster time to trial than the Northern District of California. For example, the Northern

   District of California has almost 13,000 cases pending. Ex. J at 9. This District, in contrast, has

   less than half the caseload. Ex. J at 11. The gap widens even further when considering civil cases

   more than three years old, as only 126 (or roughly 3%) of this District’s civil caseload falls into

   that category. Id. But the Northern District of California has over 2,000 cases that are more than

   three years old, constituting about 20% of its civil caseload. Id. Still further, on a per-judge basis,



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   a judge in this Court has 324 pending cases while a judge in the Northern District of California has

   924 pending cases. Compare id. at 11 with id. at 9. This District also proceeds to trial more than

   ten months faster than the Northern District of California. Compare id. at 11 (24.4 months) with

   id. at 9 (34.5 months). The median time to trial for patent cases similarly favors this District. See

   Ex. K, L (Lex Machina Statistics). Accordingly, this factor weighs against transfer. See

   Microspherix, 2012 WL 243764, at *6.

   V.     CONCLUSION
          For the reasons shown, Telcom Ventures respectfully requests that the Court deny Apple’s

   Motion to Transfer. Apple has failed to demonstrate that Telcom Ventures’ choice to litigate in its

   forum in this Court is clearly outweighed by other considerations.


    Dated: May 15, 2025                               Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 15, 2025, I electronically filed the foregoing document

   with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served

   this day on all counsel of record or pro se parties identified on the Service List in the manner

   specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

   other authorized manner for those counsel or parties who are not authorized to receive Notices of

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    Dated: May 15, 2025                             /s/ Jay B. Shapiro
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